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WESTERN DlSTRlCT OF TENNESSEE

WESTERN DlV|SlON
MEMPHIS CENTER FOR |NDEPENDENT LlVlNG,
Plaintif'f,
v.
RlCHARD AND M|LTON GRANT CO., et al.r
Defendants,
and
UN|TED STATES OF AN|ER|CA,
Plaintiff-intervenor,
v.

R|CHARD AND MlLTON GRANT CO., et al.,

 

Defendants.

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Case No. 01-2069 D§'Pha

 

ORDER OF REFERENCE

 

2005.

Before the court is Defendant’s lVlotion for Protective Order filed on April 19,

This matter is hereby referred ton the United States l\/lagistrate Judge for a

determination Any exceptions to the magistratej udge’s order shall be made by motion

Within ten (10) days ofthe order. Further, all exceptions shall be stated with particularity.

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2005.

  

E NICE B.

 

DO ALD

UN| ED STATES DISTRICT JUDGE

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This notice confirms a copy cf the document docketed as number 577 in
case 2:01-CV-02069 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

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Honcrable Bernice Donald
US DISTRICT COURT

